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 6                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,
 8                                              NO. CR-07-2020-LRS-1
                       Plaintiff,
 9
                 v.                             ORDER GRANTING DEFENDANT’S
10                                              MOTION TO WITHDRAW MOTION TO
      TRINIDAD RIVERA-CORONA,                   WITHDRAW GUILTY PLEA
11
                       Defendant.
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14        BEFORE THE COURT, is Defendant’s Motion to Withdraw Motion to

15 Withdraw Guilty Plea, Ct. Rec. 332, filed April 1, 2011.                  At the hearing

16 on March 23, 2011, Defendant indicated his intent, orally, to withdraw

17 his Motion to Withdraw Plea and proceed with sentencing.                  The government

18 has not opposed the instant motion.

19        Counsel for the Defendant asserts in his motion that the Defendant

20 has had a change of position concerning his request to set aside his

21 earlier plea of guilty.         Ct. Rec. 332, at 2.          Counsel for the Defendant

22 indicates that a review of formal discovery as well as consideration of

23 the government’s position that a harsher penalty would be sought if the

24 defendant were to go to trial and lose has permitted Mr. Rivera-Corona to

25 come to the conclusion that “. . . that--having already served half of

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 1 his sentence--it was smarter to withdraw his request and accept his

 2 status quo.”     Ct. Rec. 332, at 3.

 3        In Defendant’s declaration dated February 10, 2011 (Ct. Rec. 323),

 4 Defendant     indicated      that   his    previous       attorney     was   paid    for   by

 5 Defendant’s     family      and   not   appointed    at     public    expense.      Defendant

 6 declared that his family paid him everything they were able to pay him

 7 but when Defendant wanted to fight his case in front of a jury, it was

 8 not enough money for his attorney’s time.              Defendant declared his family

 9 was unable to pay his attorney the additional money he wanted for trial

10 and this fact seemed to change his attorney’s willingness to fight for

11 him. Additionally, Defendant stated in his declaration that his attorney

12 said that he would prosecute his family if they did not pay him an

13 additional $5,000.00.         Defendant states in his declaration that he was

14 stuck between paying $5000.00 that he did not have, having his family

15 prosecuted, or going to trial with an attorney Defendant did not trust to

16 fight for him.     Defendant declared that the cause of this entire conflict

17 was money.     Ct. Rec. 323.

18        At the hearing on March 23, 2011, the Government elicited testimony

19 from Defendant’s trial counsel Nicholas Marchi.                      Mr. Marchi testified

20 that he never demanded $5,000 or threatened to prosecute Defendant’s

21 family.     Mr. Marchi further testified that the reason Defendant decided

22 to enter a plea agreement on the day of trial was because a subpoenaed

23 defense witness who was expected to testify and purportedly provide

24 exculpatory evidence at trial, was no longer available to do so and that

25 counsel for that witness had confirmed he would not testify at trial.

26 Mr. Marchi further testified that he was fully prepared to go to trial


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1 had Defendant desired that strategy despite the family’s inability to

2 pay.

3         Of significance to the Court, defendant did not testify at the

4 hearing regarding the issues raised in his initial declaration or in

5 rebuttal to Mr. Marchi’s testimony.

6         The Court, after hearing testimony from Mr. Marchi, and having found

7 that testimony credible, grants Defendant’s Motion to Withdraw Motion to

8 Withdraw Guilty Plea.
9         IT IS HEREBY ORDERED:

10        1.   Defendant’s Motion to Withdraw Motion to Withdraw Guilty Plea,

11 Ct. Rec. 332, is GRANTED.

12        2.   The sentencing hearing REMAINS SET for May 5, 2011 at 10:30 a.m.

13 in Yakima.

14        IT IS SO ORDERED. The District Court Executive is directed to enter

15   this order and to provide copies to all counsel, the U.S. Probation

16   Office, and the U.S. Marshal.

17        DATED this 26th      day of April, 2011.

18
                                                        s/Lonny R. Suko
19                                              ___________________________________
                                                          LONNY R. SUKO
20                                                UNITED STATES DISTRICT JUDGE

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